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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA


     Shelly Christianson,                        Court No.:

                   Plaintiff,

     v.                                                       COMPLAINT

     OCWEN LOAN SERVICING, LLC
     AND OCWEN MORTGAGE
     SERVICING, INC.,                                JURY TRIAL DEMANDED

                   Defendants.


           Plaintiff, by counsel and pursuant to the Federal Rules of Civil Procedure,

asserts the following:

                                       INTRODUCTION

1.        This action for damages is brought by an individual plaintiff in response to

          Defendants’ violations of the the Telephone Consumer Protection Act

          (“TCPA”), 47 U.S.C. § 227, and common law Negligence violations.

2.        The Telephone Consumer Protection Act (“TCPA”) was designed to prevent

          calls like the ones described within this Complaint, and to protect the privacy

          of citizens like the plaintiff. “Voluminous consumer complaints about abuses

          of telephone technology––for example, computerized calls dispatched to

          private homes––prompted Congress to pass the TCPA.” Mims v. Arrow Fin.

          Servs., LLC, 132 S. Ct. 740, 744 (2012).


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3.   In enacting the TCPA, Congress intended to give consumers a choice as to

     how creditors and telemarketers may call them, and made specific findings

     that “[t]echnologies that might allow consumers to avoid receiving such calls

     are not universally available, are costly, are unlikely to be enforced, or place

     an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.

     Toward this end, Congress found that:

         [b]anning such automated or prerecorded telephone calls to the
         home, except when the receiving party consents to receiving
         the call or when such calls are necessary in an emergency
         situation affecting the health and safety of the consumer, is the
         only effective means of protecting telephone consumers from
         this nuisance and privacy invasion.

     Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012

     WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings

     on TCPA’s purpose).

4.   Congress also specifically found that “the evidence presented to the Congress

     indicates that automated or prerecorded calls are a nuisance and an invasion

     of privacy, regardless of the type of call. . . .” TCPA, Pub.L. No. 102–243, at

     §§ 12-13. See also, Mims, 132 S. Ct. at 744.

5.   Shelly Christianson (“Christianson” or “Plaintiff”), through her attorneys,

     brings this action to challenge the actions of Ocwen Loan Servicing, LLC

     (“OLS”) and Ocwen Mortgage Servicing, Inc. (“OMS”), (collectively

     “Ocwen” or “Defendants”) with regard to attempts by Defendants to


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      unlawfully and abusively collect a debt allegedly owed by Plaintiff, and this

      conduct caused Plaintiff damages.

6.    The statute of limitations is tolled due to the commencement of a class action

      based on same or similar allegations in the matter of Keith Snyder, on behalf

      of himself and all others similarly situated v. Ocwen Loan Servicing, LLC,

      Case No. 1:14-cv-8461, filed against Defendant on October 27, 2014 in the

      Northern District of Illinois. See America Pipe & Construction Co v. State of

      Utah, 414 U.S. 538 (1974).

7.    Plaintiff makes these allegations on information and belief, with the

      exception of those allegations that pertain to Plaintiff, which Plaintiff alleges

      on personal knowledge.

8.    While many violations are described below with specificity, this Complaint

      alleges violations of the statutes cited in their entirety.

9.    Unless otherwise stated, all the conduct engaged in by Defendants took place

      in Minnesota.

10.   Any violations by Defendants were knowing, willful, and intentional, and

      Defendants did not maintain procedures reasonably adapted to avoid any

      such specific violation.

                              JURISDICTION AND VENUE

11.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 47 U.S.C. §

      227(b), and 28 U.S.C. § 1367 for supplemental state claims.

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12.   This action arises out of Defendant’s violations of federal law. 47 U.S.C. §

      227(b); Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740 (2012).

13.   Because Defendant does business within the District of Minnesota, personal

      jurisdiction is established.

14.   Venue is proper pursuant to 28 U.S.C. § 1391 as a substantial part of the

      events or omissions giving rise to the claim occurred in the District of

      Minnesota.

                                        PARTIES

15.   Plaintiff is a natural person who resides in the City of Austin, State of

      Minnesota.

16.   Plaintiff is, and at all times mentioned herein was, a “person” as defined by

      47 U.S.C. § 153(39).

17.   Defendant OLS has its principal place of business in the City of West Palm

      Beach, in the State of Florida.

18.   Defendant OMS has its principal place of business in Frederiksted, St. Croix

      in the U.S. Virgin Islands.

19.   Defendants are “persons” as defined by 47 U.S.C. § 153(39).

                               FACTUAL ALLEGATIONS

20.   Between April 2, 2011 through April 7, 2014, Defendants called Plaintiff on

      Plaintiff’s cellular telephone number ending in 3288 via an “automatic

      telephone dialing system” (“ATDS”), as defined by 47 U.S.C. § 227(a)(1),

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      using an “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)

      (1)(A).

21.   This ATDS has the capacity to store or produce telephone numbers to be

      called, using a random or sequential number generator.

22.   When Plaintiff would answer the calls from Defendants, there would often be

      a silence, sometimes with a click or beep-tone, before an Ocwen

      Representative would pick up and start speaking.

23.   Sometimes, Plaintiff would receive calls from Defendants in which the caller

      was a recorded voice or message, rather than a live representative.

24.   In total, Plaintiff has received at least 1,459 calls from Defendants on

      Plaintiff’s cellular telephone.

25.   For example, Plaintiff received at least 979 calls in 2012 from Defendants,

      particularly:

       • 110 calls in July, 2012––with 20 calls coming on July 29, 2012 alone.

       • 128 calls in August, 2012––with 15 calls coming on August 24, 2012

          alone.

       • 100 calls in September, 2012––with 15 calls coming on September 14,

          2012 alone.

       • 183 calls in October, 2012––with calls on every day of the month.

       • 157 calls in November, 2012––with 27 calls on November 15, 2012

          alone.

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       • 209 calls in December, 2012––with 37 calls on December 18, 2012 alone.

26.   Sometime in 2006 and at least 50 times thereafter (all before 2011), Plaintiff

      clearly revoked any type of prior express consent, if prior express consent

      ever existed, by stating that Plaintiff no longer wished to be contacted by

      telephone.

27.   Plaintiff answered several of the above mentioned telephone calls from

      Defendants and asked Defendants to stop calling.

28.   Despite this clear and unmistakable request, the calls continued without

      interruption.

29.   Each of these requests terminated any express or implied consent that

      Defendant may have had prior to beginning its campaign of harassment by

      telephone.

30.   Each of these calls was an attempt to collect on a consumer debt allegedly

      due and owing by Plaintiff.

31.   The calls by Defendants to Plaintiff’s cell phone continued, even after

      Plaintiff’s oral revocation.

32.   As a result, the telephone calls by Defendants, or its agent(s), violated 47

      U.S.C. § 227(b)(1).

33.   Plaintiff was personally affected, becoming frustrated and distressed that,

      despite telling Defendants to stop calling Plaintiff’s cellular phone,

      Defendants continued to harass Plaintiff with collection calls using an ATDS.

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34.   The unrelenting, repetitive calls disrupted Plaintiff’s daily activities and the

      peaceful enjoyment of Plaintiff’s personal and professional life, including the

      ability to use Plaintiff’s phone.

35.   The calls placed by Defendants to Plaintiff were extremely intrusive,

      including Plaintiff’s relationships with close family members.

36.   Specifically, Plaintiff began to ignore or send to voicemail many incoming

      calls from unknown numbers, out of frustration in dealing with Defendants’

      unwanted and intrusive calls.

37.   In doing so, Plaintiff missed important communications from friends and

      family.

38.   Through their actions, Defendants’ breached their duty of care to Plaintiff

      and caused Plaintiff damages.

                                          Damages

39.   Defendants caused an invasion of Plaintiff’s privacy by calling her cellular

      phone over 1,459 times in an attempt to collect a debt.

40.   Defendants caused Plaintiff emotional distress and embarrassment by calling

      her repeatedly and continuously.

41.   Defendants consumed and wasted Plaintiff’s cell phone battery life.

42.   Defendants wasted hours of Plaintiff’s time by calling Plaintiff when

      Defendants had no right to call Plaintiff.



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43.   Defendants caused the Plaintiff to suffer the frustration and annoyance the

      TCPA was enacted to prevent. See, e.g., Mey v. Got Warranty, Inc., No.

      5:15-CV-101, 2016 U.S. Dist. LEXIS 84972, at *8 (N.D.W. Va. June 30,

      2016) (“[S]uch calls also cause intangible injuries, regardless of whether

      the consumer has a prepaid cell phone or a plan with a limited number of

      minutes. The main types of intangible harm that unlawful calls cause are

      (1) invasion of privacy, (2) intrusion upon and occupation of the capacity of

      the consumer’s cell phone, and (3) wasting the consumer’s time or causing

      the risk of personal injury due to interruption and distraction.”)

                                       STANDING

44.   Standing is proper under Article III of the Constitution of the United States of

      America because Plaintiff’s claims state:

          a. a valid injury in fact;

          b. which is traceable to the conduct of Defendant;

          c. and is likely to be redressed by a favorable judicial decision.

       See, Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) at 6, and Lujan v.

       Defenders of Wildlife, 504 U.S. 555 at 560.

45.   In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must

      clearly allege facts demonstrating all three prongs above.




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                               The “Injury in Fact” Prong

46.   Plaintiff’s injury in fact must be both “concrete” and “particularized” in order

      to satisfy the requirements of Article III of the Constitution, as laid out in

      Spokeo (Id.).

47.   For an injury to be “concrete” it must be a de facto injury, meaning that it

      actually exists. In the present case, Plaintiff was called on her cellular phone

      by Defendant.     Such calls are a nuisance, an invasion of privacy, and an

      expense to Plaintiff. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,

      638 (7th Cir. 2012). All three of these injuries are concrete and de facto.

48.   For an injury to be “particularized” means that the injury must “affect the

      plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S.

      ___ (2016) at 7. In the instant case, it was plaintiff’s phone that was called

      and it was plaintiff herself who answered the calls. It was plaintiff’s personal

      privacy and peace that was invaded by Defendant’s persistent phone calls

      using an ATDS. Finally, plaintiff alone is responsible to pay the bill on her

      cellular phone.    All of these injuries are particularized and specific to

      plaintiff, and will be the same injuries suffered by each member of the

      putative class.




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               The “Traceable to the Conduct of Defendant” Prong

49.   The second prong required to establish standing at the pleadings phase is that

      Plaintiff must allege facts to show that her injury is traceable to the conduct

      of Defendant(s).

50.   In the instant case, this prong is met simply by the fact that the calls to

      plaintiff’s cellular phone were placed either, by Defendant directly, or by

      Defendant’s agent at the direction of Defendant.

 The “Injury is Likely to be Redressed by a Favorable Judicial Opinion” Prong

51.   The third prong to establish standing at the pleadings phase requires Plaintiff

      to allege facts to show that the injury is likely to be redressed by a favorable

      judicial opinion.

52.   In the present case, Plaintiff’s Prayers for Relief include a request for

      damages for each call made by Defendant, as authorized by statute in 47

      U.S.C. § 227. The statutory damages were set by Congress and specifically

      redress the financial damages suffered by Plaintiff and the members of the

      putative class.

53.   Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to restrain

      Defendant from the alleged abusive practices in the future. The award of

      monetary damages and the order for injunctive relief redress the injuries of

      the past, and prevent further injury in the future.



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54.   Because all standing requirements of Article III of the U.S. Constitution have

      been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016), Plaintiff

      has standing to sue Defendant on the stated claims.

                                CAUSES OF ACTION

                                     COUNT I

                      NEGLIGENT VIOLATIONS OF THE
               TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                             47 U.S.C. 227

55.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

56.   The foregoing acts and omissions constitute numerous and multiple

      violations of the TCPA, including but not limited to each and every one of

      the above-cited provisions of the TCPA, 47 U.S.C. 227 et. seq.

57.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et seq,

      Plaintiff is entitled to an award of $500.00 in statutory damages, for each and

      every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

58.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such

      conduct in the future.




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                                     COUNT II

               KNOWING AND/OR WILLFUL VIOLATIONS OF THE
               TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                             47 U.S.C. 227

59.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

60.   The foregoing acts and omissions of Defendants constitute numerous and

      multiple knowing and/or willful violations of the TCPA, including but not

      limited to each and every one of the above-cited provisions of 47 U.S.C. §

      227 et seq.

61.   As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. §

      227 et seq., Plaintiff is entitled to treble damages, as provided by statute, up

      to $1,500.00, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)

      (B) and 47 U.S.C. § 227(b)(3)(C).

62.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such

      conduct in the future.

                                     COUNT III

                                   NEGLIGENCE

63.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.




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64.   Defendants had a duty to use care to not infringe on Plaintiff’s privacy rights

      when collecting on alleged debts and not calling Plaintiff hundreds of times

      to harass and/or abuse Plaintiff.

65.   Defendants breached that duty by calling Plaintiff on Plaintiff’s cellular

      telephone an excessive number of times, as discussed above, and continued

      to call despite Plaintiff’s request that the calls stop.

66.   Defendants negligence was a substantial and proximate factor in causing

      Plaintiff the harm and injury described above.

67.   Plaintiff was harmed and suffered injury as described above.

68.   As a result, Plaintiff is entitled to actual damages.

69.   Defendants’ conduct was malicious and oppressive.

70.   As a result, Plaintiff is entitled to punitive damages.

                                       COUNT IV

                            NEGLIGENCE PER SE - TCPA

71.   Plaintiff repeats, re-alleges, and incorporates by reference, all other

      paragraphs.

72.   The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.

      was designed to prevent calls like the ones described within this complaint,

      and to protect the privacy of citizens like Plaintiff.

73.   Thus, Plaintiff is within the protective class which the TCPA is designed to

      protect.

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74.   As described above, Defendants breached their duty when they violated the

      TCPA.

75.   Defendants’ violation of the TCPA was a substantial and proximate factor in

      causing Plaintiff this harm and injury described above.

76.   As said conduct was carried out by Defendants in an oppressive, malicious,

      despicable, gross and wantonly negligent manner, said conduct demonstrates

      Defendants’ conscious disregard for the rights and safety of Plaintiff or their

      family. As such Plaintiff is entitled to recover punitive damages from

      Defendants in an amount according to proof at trial.

                               PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendants, and

Plaintiff be awarded damages from Defendants, as follows:

                                      COUNT I

                     NEGLIGENT VIOLATIONS OF THE TCPA
                           47 U.S.C. §§ 227 ET SEQ.

      •     Statutory damages of $500 for each and every negligent violation of the

            TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B);

      •     Any and all other relief that the Court deems just and proper.




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                                      COUNT II

             KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                         47 U.S.C. §§ 227 ET SEQ.

      •     Statutory damages of $1,500, for each and every knowing and/or

            willful violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B)

            and 47 U.S.C. § 227(b)(3)(C).

      •     Any and all other relief that the Court deems just and proper.

                                      COUNT III

                                     NEGLIGENCE

      •     An award of actual damages;

      •     An award of punitive damages;

      •     Any and all other relief that the Court deems just and proper.

                                      COUNT IV

                                NEGLIGENCE PER SE

      •     An award of actual damages;

      •     An award of punitive damages;

      •     Any and all other relief that the Court deems just and proper.

                                    JURY DEMAND

77.   Pursuant to the seventh amendment to the Constitution of the United States

      of America, Plaintiff is entitled to, and demands, a trial by jury.




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                                         Respectfully Submitted,


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